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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS 2020 JAN 30 AM 9:15

CASE NO.: DEPUTY were OF

 

SAMANTHA REINSEL,

Plaintiff,
Vv.
IDEAL IMAGE OF TEXAS, LLC, - ~ -
RHONDA RAZ, VAL WATSON, 4 2 0 C V 0 @ 6 A

Defendant.

/
Complaint

Samantha Reinsel (“Reinsel”), sues Ideal Image of Texas, LLC (“Ideal Image”), Rhonda

Raz, and Val Watson, and in support, states as follows:

NATURE OF CASE

1. This is an action for unpaid overtime under the Fair Labor

Standards Act, 29 U.S.C. §§ 201-216 (“FLSA”).

JURISDICTION AND VENUE
2. Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. 1331, 28 U.S.C.
1367, and 29 U.S.C. 216(b).

PARTIES

3. Reinsel is an individual and a citizen of the State of Texas residing in Tarrant

County, Texas.
 

Case 4:20-cv-00076-A Document1 Filed 01/30/20 Page 2of5 PagelD 2

4. Ideal Image is a for-profit corporation organized and existing under the laws of the
State of Texas, with its principal place of business at 770 S Dixie Hwy Ste. 200 Coral Gables, FL
33146. Ideal Image operates multiple locations within the State of Texas.

5. Rhonda Raz (“Raz”) is an individual and a citizen of the State of Texas. Raz was
Reinsel’s supervisor at Ideal Image in Texas.

6. Val Watson (“Watson”) is an individual and a citizen of the State of Texas. Watson
was Reinsel’s supervisor at Ideal Image in Texas.

FACTS

7. In or about April 2017, Reinsel began her employment with Ideal Image.

8. During Reinsel’s employment with Ideal Image, Raz exercised significant control
over Ideal Image’s operations, including but not limited to the authority to hire and fire employees,
determine compensation, control over employment-related records, and similar powers with
respect to operational control of Ideal Image’s day-today functions.

9. During Reinsel’s employment with Ideal Image, Watson exercised significant
control over Ideal Image’s operations, including but not limited to the authority to hire and fire
employees, determine compensation, control over employment-related records, and similar powers
with respect to operational control of Ideal Image’s day-today functions.

10. During her employment, Reinsel regularly worked approximately 41 to 45 hours
per work week, but was not compensated any overtime, all with actual and/or constructive
knowledge of Ideal Image, Raz and Watson.

11. During her employment, Reinsel was not paid for any overtime.

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Case 4:20-cv-00076-A Document1 Filed 01/30/20 Page 3of5 PagelD 3

12. Reinsel incorporates by reference, and as if fully restated herein, the allegations
contained in Paragraphs 1-11 of the Complaint.

13. Ideal Image employs more than two individuals.

14. Ideal Image has an annual dollar volume of sales or business being done of at least
$500,000.

15. Ideal Image is subject to the FLSA.

16. During Reinsel’s employment with Ideal Image, Ideal Image was her employer, as
that term is defined by the FLSA.

17. During Reinsel’s employment with Ideal Image, Raz and Watson were each
considered her employer, as that term is defined by the FLSA.

18. During Reinsel’s employment, she regularly and routinely worked more than forty
(40) hours per work week, and was not paid for any or all minimum wage or overtime as a result
of unlawful pay practices, policies, and procedures.

19. Ideal Image, Raz and Watson knew that Reinsel was not being compensated with
respect to minimum wage or overtime.

20. Ideal Image, Raz and Watson’s failure to pay all owed minimum wage and overtime
was intentional.

21. Asadirect and legal consequence, Ideal Image, Raz and Watson’s failure to pay all
minimum wage or any overtime, Reinsel has suffered damages.

WHEREFORE, Reinsel respectfully requests the following:

a. Enter judgment in her favor for unpaid minimum wage and overtime under the
FLSA;

b. Award the full amount of any unpaid overtime, liquidated damages, and pre-
judgment and post-judgment interest;
Case 4:20-cv-00076-A Document1 Filed 01/30/20 Page4of5 PagelD 4

c. Award attorneys’ fees and costs; and

d. Grant equitable relief declaring and mandating the cessation of the unlawful pay
practices, policies and procedures; and

e. Grant such other and further relief as this Court deems just and proper.

I request a jury trial.

 

Samantha Reinsel

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fort Worth TX Wo27U4

 
 

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provided by local rules of court. This form, approved by the Judicial Conference of the

lement the filing and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

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DEFENDANTS \(\QQ.\ mace of Teyad LLC
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VI. CAUSE OF ACTION LC NC Nom

 

VH. REQUESTEDIN (7 CHECK IF THIS IS A CLASS ACTION
COMPLAINT: UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S) ;
IF ANY (See instructions):

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